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     Attorneys for Amici Curiae 58 Religious Organizations
11
                                  UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
                                       OAKLAND DIVISION
13
     SIERRA CLUB and SOUTHERN BORDER
14   COMMUNITIES COALITION, et al.,                                Case No. 4:19-cv-00892-HSG
15                                  Plaintiffs,
16          vs.
17   DONALD J. TRUMP, in his official capacity as
     President of the United States of America, et al.,
18
                           Defendants.
19
     STATE OF CALIFORNIA, et al.,
20                                                                 Case No. 4:19-cv-00872-HSG
                                    Plaintiffs,
21                                                                 ORDER GRANTING MOTION TO
            vs.                                                    WITHDRAW AS COUNSEL FOR
22
     DONALD J. TRUMP, in his official capacity as                  AMICI CURIAE 58 RELIGIOUS
23   President of the United States of America, et al.,            ORGANIZATIONS

24                                  Defendants.
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                                              ORDER GRANTING MOTION TO WITHDRAW; 19-cv-00872, 19-cv-00892
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1                   Mohammed A. Badat seeks to withdraw as counsel pro hac vice for amici curiae 58

2    Religious Organizations in the above-captioned cases, as required by Local R. 11-5(a) and Cal. R.

3    Pro. Conduct 3-700(A)(1). As the Court finds that Mr. Badat has submitted satisfactory reasoning

4    for withdrawal, and that such withdrawal will not cause substantial prejudice or delay to any party,

5                   IT IS HEREBY ORDERED THAT Mohammed A. Badat be granted leave to

6    withdraw as counsel for amici curiae 58 Religious Organizations. The clerk shall terminate Mr.

7    Badat as counsel pro hac vice in these proceedings, 4:19-cv-872 and 4:19-cv-892.

8

9    DATED: 10/15/2021                            By:                                          _
                                                  Hon. Haywood S. Gilliam, Jr.
10                                                United States District Court Judge
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                                            ORDER GRANTING MOTION TO WITHDRAW; 19-cv-00872, 19-cv-00892
